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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


STEVEN E. BERKHEIMER,

                        Plaintiff,
                                                No. 1:12-cv-09023
                        v.
                                                Judge John Z. Lee
HEWLETT-PACKARD COMPANY,

                       Defendant.




         PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S
         MOTION FOR SUMMARY JUDGMENT UNDER 35 U.S.C. § 101
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        I.     INTRODUCTION

        Berkheimer’s asserted claims are not drawn to an abstract idea and have inventive

concept because they improve the computer technology of digital asset and content management

systems.1

        Alice did not reject all software-based patents, stating “many computer-implemented

claims are formally addressed to patent-eligible subject matter,” and specifically suggested

claims which “improve the functioning of the computer itself” or “any other technology” are

patent eligible. Alice Corp. Pty. Ltd. v. CLS Bank Int’l, ---U.S.---, 134 S.Ct. 2347, 2359 (2014); A

Pty Ltd. v. HomeAway, Inc., No. 1-15-CV-158 RP, 2015 WL 5883364, at *2 (W.D. Tex. Oct. 8,

2015)2; see also, I/P Engine, Inc. v. AOL Inc., 576 F. App'x 982, 992 (Fed. Cir. 2014) (Mayer, J.,

concurring) (“The Supreme Court in Alice for all intents and purposes, recited a ‘technological

arts’ test for patent eligibility.”) So it is here: the asserted claims improve the functioning of

computerized digital asset and content management technologies and are patent eligible.

        Moreover, HP’s analysis ignores the salient law pertaining to “computer-implemented

inventions” by failing to cite or discuss the “benchmark” Federal Circuit decision of DDR

Holdings, LLC v. Hotels.Com, L.P., 773 F.3d 1245 (Fed. Cir. 2014).

        In a trio of decisions issued March 22, 20163, Judge Sue Robinson, the longest serving

Judge of the U.S. District Court of Delaware - a significant patent venue, addressed software-

related computer-implemented patents under 35 U.S.C. § 101. In a discussion common to all


1
   For example, see Plaintiff’s Local Rule 56.1(b) Response and Statement of Additional Facts Requiring
Denial of Summary Judgment (hereinafter cited as “Pl.SMF”) at ¶¶ 18 to 33 which sets forth
improvements, practical benefits and advantages of the ‘713 Patent invention.
2
   Attached as Response Exhibit (“R.Ex.”) A.
3
  Improved Search LLC v. AOL, Inc., Civ. No. 15-262-SLR (D. Del. Mar. 22, 2016); Intellectual Ventures
I LLC v. Ricoh Americas Corp., Civ. No. 13-474-SLR (D. Del. Mar. 22, 2016); and Network Congestion
Solutions, LLC v. U.S. Cellular Corp., Civ. No. 14-903-SLR (D. Del. Mar. 22, 2016), attached as R.Ex. B
to D respectively.

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three opinions, Judge Robinson traced the “evolution of the § 101 jurisprudence” on software

patents from “complete rejection” in the 1960s to “complete acceptance” in the 1990s to Alice’s

skepticism in the 2010s. After acknowledging the evolving state of the law and the difficulty of

the § 101 analysis, Judge Robinson stated at p. 12 of the common opinions:

        “In trying to sort through the various iterations of the § 101 standard, the court
        looks to DDR as a benchmark; i.e., the claims (informed by the specification)
        must describe a problem and solution rooted in computer technology, and
        the solution must be (1) specific enough to preclude the risk of pre-emption,
        and (2) innovative enough to “override the routine and conventional” use of
        the computer. DDR, 773 F.3d at 1258-59.” (emphasis added)

        Berkheimer’s asserted claims are “necessarily rooted in computer technology,” provide

“the requisite degree of specificity” to preclude the risk of pre-emption of an abstract idea, and

are innovative enough to “override the routine and conventional” use of the computer. Id.

        II.     LEGAL STANDARD

        In addition to the standards for summary judgment familiar to this Court, to prevail on its

§ 101 challenge, HP must establish that the asserted ‘713 Patent claims fail both steps of the

Mayo / Alice framework, namely that they are directed to an ineligible category (such as an

abstract idea) under Alice step 1 and lack an inventive concept under Alice step 2. HP has the

burden of proving the same by clear and convincing evidence4. See CLS Bank Int’l v. Alice Corp.


4
  HP’s assertion that its motion is a pure matter of law does not negate the presumption of validity of the
‘713 Patent and HP’s burden of proof to overcome the same by the clear and convincing evidence
standard. See Microsoft Corp. v. i4i Ltd. P'ship, 131 S. Ct. 2238, 2245-2251 (2011) (holding that the
presumption of validity under 35 U.S.C. §282 requires the clear and convincing evidence standard to
apply to all validity challenges because “we must presume that Congress intended to incorporate the
heightened standard of proof, unless the statute otherwise dictates” and nothing “suggests that Congress
meant to ... enact a standard of proof that would rise and fall with the facts of each case” (internal quotes
omitted)); DataTern, Inc. v. MicroStrategy, Inc., 11-11970-FDS, 2015 WL 5190715 at *8–9 (D. Mass.
Sept. 4, 2015) (R.Ex.E) (applying the presumption of validity and the clear-and-convincing standard in
§101 analysis). But cf. 01 Communique Laboratory, Inc. v. Citrix Systems, Inc., --- F.Supp.3d ---, 2015
WL 9268913 (2015) (R.Ex.F) at *5–6 acknowledging the presumption of validity and burden of proof by

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Pty. Ltd., 717 F.3d 1269, 1284 (Fed.Cir.2013) (finding that “any attack on an issued patent based

on a challenge to eligibility of the subject matter must be proven by clear and convincing

evidence.”). But regardless of the burden, HP fails to establish either step 1 or 2 of Alice.

        III.    ARGUMENT

        HP’s opening brief gives scant attention to whether the ‘713 claims assert “to improve

the functioning of the computer itself or effect an improvement in any other technology or

technical field.” Alice, 134 S.Ct. at 2359. Despite citing at footnote 6 of its brief to “myriad

decisions” finding patent claims invalid under §101, HP omits any reference to DDR Holdings

and the numerous post-Alice cases distinguishing HP’s cited cases and upholding the patent

eligibility of software or computer implemented inventions that improve a technology.5


clear and convincing evidence is not a simple issue relative patent eligibility under §101, uncertainty
exists, and district courts have taken various approaches.
5
  See in addition to footnote 2 supra, e.g., Art + Com Innovationpool GmbH v Google, Inc., 1:14-cv-
00217-ROA, Dkt 351, (D.Del. April 28, 2016) (R.Ex.G) (pictorial representation of space-related data is a
patent eligible “specific procedure done by a computer” “not merely what a computer does”); SRI
International, Inc. v. Cisco Systems, Inc., 13-cv-015234-SLR, Dkt 351, (D.Del. April 11, 2016) (R.Ex.H)
(claims of data from multiple sources to detect suspicious activity delineate “how” method improves the
functioning of the computer and are patent eligible); 01 Communique Laboratory, Inc. v. Citrix Systems,
Inc., et al.,1:06-cv-253, 2015 WL 9268913 (N.D. Ohio Dec. 21, 2015) (R.Ex.F) (claim not directed to
ineligible abstract idea and recited additional features of a specific solution, rooted in computer
technology, to remote access problems that can only arise in the realm of computer networks); DataTern,
Inc. v. MicroStrategy, Inc., 2015 WL 5190715, at *8–9 (D. Mass. Sept. 4, 2015) (R.Ex.E) (method for
interfacing an object oriented software application with a relational database eligible under §101 because
it was directed to solving a problem that specifically arises in the realm of computing {“object oriented
programs exist only in the realm of computers”} and does not address fundamental practices long
prevalent); Contentguard Holdings, Inc. v. Amazon.com Inc., 2:13-cv-1112, 2015 WL 5853984, at *6
(E.D. Tex. Oct. 5, 2015) (R.Ex.I) (claims directed toward enforcing usage rights and restrictions on digital
content eligible under §101); Smartflash LLC et al v. Apple Inc. et al, 6:13-cv-447, 2015 WL 661174
(E.D. Tex Feb. 13, 2015) (R.Ex.J) (claims recited patent eligible inventive concept by specific ways of
managing access to digital content data based on payment validation through storage and retrieval of use
status data and use rules in distinct memory types and evaluating the use data according to the use rules);
SimpleAir, Inc. v. Google Inc. et al., 2:14-cv-00011, 2015 WL 5675281 (E.D. Tex. Sept. 25, 2015)
(R.Ex.K) (data transmission patents were not directed toward an abstract idea but instead were directed to
“patent-eligible methods and systems for transmitting data to remote computing devices because claim
limitations were sufficient to ensure the claim amounts to more than patent on an abstract idea);
California Inst. Tech. v. Hughes, 59 F.Supp.3d 994 (C.D. Cal. November 3, 2014) (inventive concept
because claims contain meaningful limitations that are narrowly defined and “tied to a specific error
correction process” that does “not preempt the field of error correction.”); Motio, Inc. v. BSP Software

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        A.      THE ASSERTED CLAIMS ARE NOT DIRECTED TO AN ABSTRACT
                IDEA UNDER ALICE STEP 1.

        HP’s motion recasts the claims of the ‘713 Patent into an abstraction not claimed, namely

“the abstract idea of reorganizing data” and “presenting the data for manual reconciliation”. This

conjunctive phrasing of HP’s abstraction is incongruent: if data is “reorganized” why must it be

“presented for manual reconciliation?” HP’s abstraction comprises two distinct components and

is not in accord with the testimony of its own expert, Dr. Schonfeld.6

        Above all, HP’s claim refashioning errs as a matter of law because it does not account for

the core elements and limitations of the claims. “Because software is necessarily intangible,

accused infringers can easily mischaracterize and oversimplify software patents.” Enfish, LLC v.

Microsoft Corp., 56 F.Supp.3d 1167, 1174 (C.D. Cal. Nov. 3, 2014). HP does so here.

        In the first step of the Alice framework, the Court considers the claims at issue “in their

entirety” to determine “whether their character as a whole” is directed to a law of nature, natural

phenomenon, or abstract idea or a “fundamental...practice long prevalent in our system of

commerce.” See Alice, 134 S.Ct. at 2355-56.



LLC, et al., 4:12-CV-647, 2016 WL 26043 (E.D. Tex. Jul. 7, 2015) (R.Ex.L) (electronic versioning
claims contained limitations that created patent eligible inventive concept); Maxus Strategic Sys., Inc. v.
Aqumin LLC, 11-cv-073, 2015 WL 6756695, at *2 (E.D. Tex. Aug. 18, 2015) (R.Ex.M) (apparatus and
method for displaying information in a virtual reality environment to facilitate the viewing of otherwise
unmanageable amounts of data eligible under §101); StoneEagle Services, Inc. v. Pay-Plus Solutions,
Inc., 113 F.Supp.3d 1241, 2015 WL 4042097, at *7-9 (M.D. Florida July 1, 2015) (R.Ex.N) (claims
directed to healthcare reimbursement system using virtual payment of benefit amount together with
explanation of benefits provides a solution that is not an abstract idea); Messaging Gateway Solutions
LLC v. Amdocs, Inc. et al, 14-732, 2015 WL1744343 (D. Del. April 15, 2015) (R.Ex.O)
(telecommunication data translation claim was necessarily rooted in computer technology and overcome a
problem specifically arising in the realm of mobile device-to-Internet communication with sufficient
limitations to prevent it from preempting an abstract idea).
6
  Dr. Schonfeld’s abstraction states “the asserted claims are drawn to abstract idea of archiving data,
wherein new data items to be archived are analyzed and compared to previously stored data” comparable
to humans “maintain[ing] filing cabinets” where they “compare portions of new documents to stored
portions of documents to identify variances when archiving new documents” “to avoid archiving
duplicates of portions of the same documents.” Plaintiff’s expert Dr. Peter Nelson rebuts Dr. Schonfeld’s
§ 101 analysis. [Pl.SMF, ¶¶ 45 to 48]

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       While a summary of a claim will necessarily omit details, to capture what a claim is

directed to, the summary must include the core features of the claim. A summary that omits core

features will not describe what the claim is directed to, will not reflect a claim’s potential

preemptive footprint, and an analysis of that summary would thus be meaningless. See,

Ultramercial Inc. v. Hulu LLC, 722 F.3d 1335, 1344 (Fed. Cir. 2013) (“Ultramercial I”), cert.

granted, judgment vacated sub nom., (“The Court has long-recognized that any claim can be

stripped down, simplified, generalized, or paraphrased to remove all of its concrete limitations,

until at its core, something that could be characterized as an abstract idea is revealed. A court

cannot go hunting for abstractions by ignoring the concrete, palpable, tangible limitations of the

invention the patentee actually claims.”)

       HP has not established the claims at issue are directed to an abstract idea because its

summary of the claims does not include core features of the claims. For example, core features in

Claim 1 include the key elements of presenting an item to a parser and parsing the item (from

source code into object code) into a plurality of multi-part object structures wherein portions of

the structures have searchable information tags associated therewith. This is a transformative

step that cannot be performed in the human mind or manually by using pen and paper – rather it

requires the parser and parsing and tagging as called for in the claims. [Pl.SMF, ¶¶ 37, 38]

Further, the evaluating step of Claim 1, as construed by the Court, involves “analyzing the

plurality of multi-part object structures obtained by parsing and comparing it with object

structures previously stored in the archive to determine if there is variance between the object

and at least one of a predetermined standard and a user defined rule.” [Pl.SMF, ¶¶ 14, 15]

       The claims at issue are not an “abstract idea” because they do not involve a fundamental

practice long prevalent in our system of commerce or an abstract idea that existed in a pre-



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Internet world simply implemented by a computer. HP’s Motion fails Alice step 1.

       B.      THE ASSERTED CLAIMS RECITE INVENTIVE CONCEPT
               UNDER ALICE STEP 2 AND IMPROVE COMPUTER
               TECHNOLOGY UNDER ALICE AND DDR HOLDINGS.

       The ‘713 claims are also patent-eligible under the second step of the Mayo / Alice

framework because they recite particular claim elements and meaningful limitation that,

individually or collectively, transform the nature of the claims into a patent eligible application

having inventive concept. Alice, 134 S.Ct. at 2354.

       For computer-implemented technologies, Judge Robinson’s reliance on DDR as a

“benchmark” is appropriate. Indeed, Berkheimer’s asserted claims survive Alice’s “inventive

concept” step 2 because they are directed to a solution to a problem “necessarily rooted in

computer technology,” provide “the requisite degree of specificity” to preclude the risk of pre-

emption of an abstract idea, and are innovative enough to "override the routine and conventional"

use of the computer.

       1.      The Claims Present A Solution To A Problem Rooted In Computer
               Technology.

       Claim 1’s “method of archiving an item in a computer processing system” comprises

specifically recited steps including parsing an item into “a plurality of multi-part object

structures wherein portions of the structures have searchable information tags associated

therewith”. As construed by this Court, “parsing” requires use of a program that dissects and

converts source code into object code. [Pl.SMF, ¶ 15] The ‘713 Patent at 17:4-12 teaches with

respect to FIGS. 3 and 4 that “the system 10, stores objects and object relationships utilizing a

multi-element data structure which incorporates element specific metadata 60a, element

properties 60b and element property values 60c. Additionally, the data structure incorporates

document-specific data and metadata 62a, document properties 62b and document property


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values 62c.7 Tags associated with object oriented data structures by the parser and tagger 104 are

carried therewith and enable linking and retrieval of object oriented data structures from archive

14.” [Pl.SMF, ¶¶ 16, 17]

        Thus Claim 1’s “plurality of multi-part object structures” obtained by parsing source code

into object code are rooted in a computer technology. DataTern, Inc., 2015 WL 5190715 at *8–9

(R.Ex. E) (“indeed, object-oriented programs exist only in the realm of computers”). [Pl.SMF, ¶¶

18, 19, 20 to 33]

        The Claims at issue also present solutions to problems in computerized digital asset

management systems, including: redundancy, one to many element editing, and efficient digital

asset control and usage by providing a capability to productively compare, reconcile, store,

distribute and edit object oriented data, metadata, elements, properties and/or values by using

Claim 1’s recited predetermined variance between an evaluated object and a predetermined

standard and/or a user defined rule.8 [Pl.SMF, ¶¶ 18, 19] The use of predetermined variance

between an evaluated object and a predetermined standard and/or a user defined rule solves

numerous computer-related problems and achieves certain advantages [see Pl.SMF, ¶¶ 20 to 33],

including control of user access and workflow by establishing “security-related privileges and

rules effecting the invention's allowing or disallowing individual users or groups of users to
7
  See also the ‘713 Patent’s “OBJECTS AND RELATIONSHIPS DATA MODEL ARCHIVE” of Figs.
2B, 3, and 4 referencing Element Data / Document Data, Element Metadata / Document Metadata,
Element Properties / Document Properties, Element Property Values / Document Property Values, User
Defined Element Rules / User Defined Document Rules and Element Version Data / Document Version
Data and the associated detailed teaching of such Data, Metadata, Properties, Property Values, Version
Data, and User Defined Rules. [Pl.SMF, ¶¶ 16, 17]
8
  Other than quoting Berkheimer’s asserted claims, HP’s motion brief does not once discuss the use of
predetermined variance between an evaluated object and a predetermined standard and/or a user defined
rule. Instead HP treats steps 3 and 4 of Claim 1 as mere “evaluating” and “presenting for manual
reconciliation”. This repudiates the Court’s claim construction wherein the step 3 “evaluating the object
structures in accordance with object structures previously stored in an archive” is construed as “analyzing
the plurality of multi-part object structures obtained by parsing and comparing it with object structures
previously stored in the archive to determine if there is variance between the object and at least one of a
predetermined standard and a user defined rule.” [Pl.SMF, ¶ 15]

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access, view, edit, manipulate, replace, print, compile and download objects and object

relationships and the invention's generated reports contained in the invention's document object

model archive.” [Pl.SMF, ¶ 27] HP ignores the problems the claims solve. The asserted claims’

conversion of source code to a plurality of multi-part object structures in conjunction with

predetermined variance between an evaluated object and at least one of a predetermined standard

and a user defined rule creates finer granularity of enterprise wide control of digital assets and

content, and provides a capability to efficiently compare, reconcile, store, distribute and edit

object oriented components, elements, properties and/or values archived for use and re-use, and

for retrieval, editing, recompiling and outputting. [Pl.SMF, ¶¶ 18, 19]

       2.      The Claims Have the Requisite Degree of Specificity With No Risk of
               Preemption.

       By reciting a particular method of archival defined with meaningful elements and

limitations, the challenged claims do not preempt any fundamental longstanding practice or

abstract concept, and they have concrete and valuable effects in the field of computerized digital

asset and content management systems. [Pl.SMF, ¶¶ 18 to 33, 39, 40 to 44] The foregoing

discussed claim elements and limitations are recited with specificity, and thus place meaningful

boundaries on the inventive concept, such that they avoid the concern that the patent “would risk

disproportionately tying up the use of the underlying ideas.” [Pl.SMF, ¶¶ 40 to 44] Alice, 134

S.Ct. at 2354; Mayo, 132 S.Ct. at 1294; Improved Search LLC v. AOL, Inc., Civ. No. 15-262-

SLR (D. Del. Mar. 22, 2016) (R.Ex.B) (claim limitations of extracting words from an internet

search, performing a dialectal standardization of the words, and translation were sufficiently

specific to “how interactions with the Internet are manipulated to yield a desired result.”;

Network Congestion Solutions, LLC v. U.S. Cellular Corp., Civ. No. 14-903-SLR (D. Del. Mar.

22, 2016) (R.Ex.D) (claims are more than “resource control management” by addressing “the


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problem of 'network congestion' in a defined environment” sufficient “to alleviate concerns of

pre-emption.”). The ‘713 Patent claims therefore improve computerized digital asset and content

management systems without risk of abstract idea preemption. [Pl.SMF, ¶¶ 18 to 20, 40 to 43]

The same does not preempt HP’s motion brief p. 2 abstraction examples of “bookkeepers,

accountants, auditors” and others practicing “fundamental, conventional business and accounting

practice[s]” such as reorganizing “pages in documents” and manually reconciling errors in

“checkbooks, bank statements, invoices, and financial accounts”, as they have “for centuries if

not millennia,” in the course of maintaining their “file cabinets” and “double entry file systems.”

       3.      The Claims Have Inventive Concept And Are Innovative Enough To
               “override the routine and conventional” Use Of The Computer.

       The second step of the Mayo / Alice analysis examines the claimed features as a whole to

determine whether they do significantly more than simply describe an abstract idea by containing

an “inventive concept” to “transform” the claimed abstract idea into patent-eligible subject matter.

Alice, 134 S.Ct. at 2357 (quoting Mayo, 132 S.Ct. at 1294, 1297-98). “A claim that recites an

abstract idea must include ‘additional features’ to ensure ‘that the [claim] is more than a drafting

effort designed to monopolize the [abstract idea].’ ” Id. (quoting Mayo, 132 S.Ct. at 1297)

(alterations in original). Those “additional features” must be more than “well-understood, routine,

conventional activity.” Mayo, 132 S.Ct. at 1298). The ‘713 claims recite such additional features

and thus satisfy the inventive concept of Alice step 2.

       Although § 101 presents a question of law, that legal conclusion “may contain underlying

factual issues.” See Ultramercial I, 722 F.3d at 1339 (“[T]he analysis under § 101, while

ultimately a legal determination, is rife with underlying factual issues.”). HP’s arguments

directed to the issue of what claim elements can be performed mentally, or readily with pencil

and paper, is one such factual question. So too are HP’s arguments as to what is generic,


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conventional, known, routine, well-understood, etc. Yet HP offers no L.R. 56.1 evidence on such

subjects and for that reason alone, HP’s arguments must be stricken and its motion denied.

        First, HP has not established that the challenged claims recite steps that were previously

well-understood, routine, or conventional. HP establishes no factual basis for concluding the

challenged claims’ elements and limitations, individually and collectively, are ubiquitous. In fact,

HP’s motion is advanced as a “pure matter of law” without any L.R. 56.1 statement of material

facts demonstrating the asserted claims are a routine and conventional use of the computer.9

        Second, a claim element is not conventional at the time of the invention just because it

may appear in prior art. When viewing claim elements as an ordered combination, a court should

not ignore the presence of any element, even if the element, viewed separately, is abstract or

potentially well-known.10 Courts must be mindful of the fact that a series of conventional

elements may together form an unconventional, patentable combination. See, e.g., Raytheon Co.

v. Roper Corp., 724 F.2d 951, 961 (Fed. Cir. 1983) (Markey, C.J.) (“[V]irtually every claimed

invention is a combination of old elements ....” (quoting Medtronic, Inc. v. Cardiac Pacemakers,

Inc., 721 F.2d 1563, 1566 (Fed. Cir. 1983)) (“[V]irtually every patent can be described as a

‘combination patent.’”); Chief Judge Howard T. Markey, Why Not the Statute? 65 J. PAT. OFF.

SOC’Y 331, 334 (1983) (“Only God works from nothing. Man must work with old elements.”).


9
  See section IV, infra. All HP “record citations” should be stricken and not considered. In particular, Dr.
Schonfeld’s citation to dictionaries of 2001 and 2002, after the October 13, 2000 priority date of
Berkheimer’s ‘713 Patent, fails to establish parsers were “well-understood, routine, conventional” at the
time of the invention. Further, record cites to Berkheimer’s deposition are irrelevant because he invented
the collective combination of the step elements of Claim 1 (as opposed to questions on portions of
individual steps.)
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   The Supreme Court in Diamond v. Diehr, 450 U.S. 175, 101 S.Ct. 1048 (1981), rejected the kind of
“point-of-novelty” analysis HP’s motion purports to conduct, and explained that “[i]t is inappropriate to
dissect the claims into old and new elements and then to ignore the presence of the old elements in the
analysis.” Diehr, 450 U.S. at 188, 101 S.Ct. 1048 (“a new combination of steps in a process may be
patentable,” even if the constituent elements are well known). Thus, “the ‘novelty’ of any individual
element or steps in a process...is of no relevance” when determining patentability in the § 101 analysis. Id.,
450 U.S. at 188–89, 101 S.Ct. 1048.

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       The challenged claims recite specific ways of transforming items from source code to

object code to produce a plurality of multi-part object structures having searchable information

tags and evaluating the same using previous stored object structures to determine if there is

variance between the object and at least one of a predetermined standard and a user defined rule.

[Pl.SMF, ¶ 15] The claims as a whole - their steps and limitations as recited - contain limitations

on the scope of the inventions and provide the requisite degree of specificity and innovation

because they describe how the claimed method of archiving operates in departure from the

“routine and conventional” and thus discloses an “inventive concept.” [Pl.SMF, ¶¶ 40 to 44]

       In particular, the claimed elements of the invention are innovative and enable significant

benefits and advantages [Pl.SMF, ¶¶ 20 to 33], including, control of user access and workflow by

establishing “security-related privileges and rules effecting the invention's allowing or

disallowing individual users or groups of users to access, view, edit, manipulate, replace, print,

compile and download objects and object relationships.” [Pl.SMF, ¶¶ 26, 27] The innovative

aspects of the claims improve computerized digital asset and content management systems by

enabling control of object and object relationship integrity, reducing redundancy, linking objects

to enable one to many editing, and provide the capability to efficiently compare, reconcile, store,

distribute and edit object oriented data, metadata, elements, properties and/or values archived for

use and re-use and for retrieval, editing, recompiling and outputting. [Pl.SMF, ¶18, 19, 20] Such

improvements to computer functionality are precisely the kind of improvements that have been

found patent eligible under Alice.

       For example, in Smartflash, the asserted claims addressed “controlling a user’s access to

data . . . and restricting access according to use rules.” Smartflash, 2015 WL 661174 at *9.

(R.Ex.J) The Court held that the claims were patent-eligible under Alice step 2, reasoning that



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the asserted claims recite specific ways of managing access to digital content data using use

status data and use rules in distinct memory types that amount to significantly more than the

underlying abstract idea. Id. (emphasis added). The challenged claims’ recitation of

predetermined variance between an evaluated object and a predetermined standard or a user

defined rule are similar to the “specific ways” of improving computer functionality found patent

eligible in Smartflash. [Pl.SMF, ¶¶ 23 to 27]

       Similarly, Contentguard makes clear that specific ways of controlling access to information

can establish an inventive concept, so long as they do not foreclose all ways of controlling access nor

recite wholly conventional steps. Contentguard, 2015 WL 5853984, at *6. (R.Ex.I) (the Patents-in-

Suit disclosed particular solutions for the problem of “enforcing usage rights and restrictions on

digital content” that did not foreclose other ways of solving the problem, and recited a specific series

of steps departing from the “routine and conventional way of managing digital rights.”)

       Third, HP individually attacks the “evaluating” and “presenting” steps of Claim 1

arguing, without L.R. 56.1 support, that they can be performed mentally by humans or with pen

and paper. Yet, the “mental process” analysis is not conducted by examining each individual

claim element in isolation, rather it must be established that every claim element can be

performed in a person’s mind. This requires that “people, aware of each step, can and regularly

do perform [each claim element] in their heads.” TQP Dev., LLC v. Intuit Inc., 2:12-cv-180-

WCB, 2014 WL 651935, at *6 (E.D. Tex Feb. 19, 2014) (R.Ex.P). HP makes no L.R. 56.1

showing that every step of the challenged claims can be performed in a person’s head. The

claimed parser and parsing elements require specific source to object code programming, which

are steps that cannot be performed in a person’s mind. [Pl.SMF, ¶¶ 15, 37, 38] The claims

further require a parsing transformation of source code into an object code plurality of multi-part



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object structures wherein portions of the structures have searchable information tags. This tag

limitation also cannot be performed in a person’s mind. [Pl.SMF, ¶¶ 37, 38]

       Finally, HP does not explain how the human mind or pen and paper performs steps 3 and

4 of Claim 1 while achieving the same beneficial results. See California Inst. Tech. v. Hughes, 59

F.Supp.3d 994 at 995 (“Pencil-and-paper analysis can mislead courts into ignoring a key fact:

although a computer performs the same math as a human, a human cannot always achieve the

same results as a computer.”) When dealing with object oriented data, metadata, properties,

values, etc., the human mind cannot achieve the invention’s benefits and advantages and HP

cites no evidence to the contrary. [Pl.SMF, ¶¶ 20 to 33]

       3.      The Dependent Claims Add Further Inventive Concepts.

       A §101 analysis requires the court to look at each claim as a whole. See Circuit Check

Inc. v. QXQ Inc., 795 F.3d 1331, 1337 (Fed. Cir. 2015); Exergen Corp. v. Kaz USA, Inc., Case

No. 13-10628-RGS, 2015 WL 8082402 at *5 (D. Mass. Dec. 7, 2015) (R.Ex.Q) (“impermissible

[to] bypass the required claim-by-claim analysis”). Independent Claim 1, the broadest in scope,

is not “representative” of all its dependent claims due to their distinct additional claim

limitations. [Pl.SMF, ¶¶ 40 to 43, 47] For example, Claim 5 requires selectively editing an object

structure linked to other structures to thereby effect a one-to-many change in a plurality of

archived items. Such additional elements and limitations of all challenged dependent claims both

belie the HP abstraction of reorganizing data for reconciliation and add inventive concepts as per

the testimony of Plaintiff’s expert, Dr. Peter Nelson. [Pl.SMF, ¶¶ 40 to 43, 47]

       C.      THE ASSERTED CLAIMS ARE PATENT-ELIGIBLE UNDER THE
               MACHINE-OR-TRANSFORMATION TEST.

       “While the Supreme Court has held that the machine-or-transformation test is not the sole

test governing § 101 analyses, Bilski, 561 U.S. 593, 604 (2010), that test can provide a ‘useful


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clue’ in the second step of the Alice framework.” Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709,

716 (Fed. Cir. 2014). Under the machine-or-transformation test, “[a] claimed process is surely

patent-eligible under § 101 if: (1) it is tied to a particular machine or apparatus, or (2) it

transforms a particular article into a different state or thing.” In re Bilski, 545 F.3d 943, 954 (Fed.

Cir. 2008) (en banc).

       1.      The challenged claims are patent-eligible under the machine prong.

       Under the first prong, the Federal Circuit has found to satisfy the machine-or-

transformation test, “a computer must be integral to the claimed invention, facilitating the

process in a way that a person making calculations or computations could not.” Bancorp Servs.,

L.L.C. v. Sun Life Assur. Co. of Canada (U.S.), 687 F.3d 1266, 1278 (Fed. Cir. 2012). Under this

formulation, the challenged claims satisfy the “machine” prong of the test because the claimed

parser, parsing, and tagging specify a plurality of multi-part object structures that are evaluated

with prior structures to determine predetermined variance between an evaluated object and at

least one of a predetermined standard and a user defined rule.” [Pl.SMF, ¶¶ 18, 19, 34 to 38]

Because a computer is integral to the claimed invention facilitating the process in a way that a

person making calculations or computations could not, and because the claimed features are

”beyond well-known “purely conventional” generic computer usage - the claims satisfy the

“machine” prong, and therefore are patent-eligible. [Pl.SMF, ¶¶ 15, 34 to 38]

       2.      The challenged claims are patent-eligible under the transformation prong.

       Because the claimed methods involve the transformation of an item (from source code to

object code) into a plurality of multi-part object structures wherein portions of the structures

have searchable information tags - a different state or thing - for further processing, they satisfy

the transformation test, and therefore are patent-eligible. [Pl.SMF, ¶¶ 15, 37, 38]



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         IV.    HP’S MOTION FAILS UNDER LOCAL RULE 56.1

         In memoranda of law filed in support of, or in opposition to, motions for summary

judgment, parties are required to cite to the specific Local Rule 56.1 statement or statements of

fact in support of their arguments, not to the record directly. See, Mervyn v. Nelson Westerberg,

Inc., --- F.Supp.3d ---, 2015 WL 6792104 (N.D. IL.2015) (R.Ex.R) (extensively discussing the

past fifteen years of N.D. IL. district decisions consistently articulating the requirement).

Movants, like HP, who fail to comply can and should expect their motions to be denied. See

Flint v. City of Belvidere, 791 F.3d 764, 767 (7th Cir. 2015) (“This Court has consistently upheld

district judges’ discretion to require strict compliance with Local Rule 56.1.”) (citing cases).

         All record citations of HP’s motion memorandum must be stricken and disregarded.

LaSalvia v. City of Evanston, 806 F.Supp.2d 1043, 1046 (N.D.IL. 2011) (“The Court also

disregards any citations to the record in the parties’ legal memoranda that do not reference their

Local Rule 56.1 Statements of Fact.”). Record citation abrogates Plaintiff’s L.R. 56.1(b)(3)(B)

right of response. Indeed HP’s Statement of Material Fact contains no “facts” supportive of its

memorandum arguments11 and leaves an evidentiary record insufficient to support summary

judgment. In contrast, Plaintiff’s L.R. 56.1(b) Response to HP’s Statement of Material Facts and

Additional Facts Requiring Denial Of Summary Judgment details why summary judgment is

unwarranted.

         V.     CONCLUSION

         For all the foregoing reasons, Berkheimer respectfully requests that the Court deny HP’s

Motion for Summary Judgment.

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   HP’s L.R. 56.1(a) Statement Of Material Facts relies on a listing of the patent claims and maintains
“Patent eligibility under 35 U.S.C. §101 is a question of law determined by examining the patent claims.”
No facts are advanced therein to establish the ‘713 Claim steps, individually or collectively, were
previously know, let alone routine, conventional, or a longstanding practice. Thus, mixed issues of law
and fact, and genuine disputed issues of material fact remain and HP’s motion should be denied.

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                                                 Plaintiff Steven E. Berkheimer

                                                 By:              /s/ James P. Hanrath
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                               CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing Plaintiff’s Response In Opposition to HP’s Motion

For Summary Judgment Under 35 U.S.C. § 101 was served via CM/ECF on May 5, 2016 upon

all counsel of record.


                                           /s/ James P. Hanrath




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